 Case 18-55697-lrc Doc 332-1 Filed 02/01/21 Entered 02/01/21 10:28:00                         Desc
                Application for Trustee Compensation Page 1 of 4



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                                :       CHAPTER 7
                                                      :
CASSANDRA JOHNSON LANDRY,                             :       CASE NO. 18-55697-LRC
                                                      :
         Debtor.                                      :

                       APPLICATION BY TRUSTEE FOR COMPENSATION

TO:      THE HONORABLE LISA RITCHEY CRAIG
         UNITED STATES BANKRUPTCY JUDGE

         This Application of S. Gregory Hays, brought pursuant to Section 330 of the United States

Bankruptcy Code, respectfully shows that he is the duly-appointed and qualified Trustee in

Bankruptcy of the above-captioned Estate, that the assets of said Debtors have been liquidated,

and that there came into the hands of the undersigned Trustee for disbursement the total sum of

$116,868.78 of which $0.00 has been disbursed to the Debtor and the Trustee anticipates an

additional $0.00 will be distributed to the Debtor.

         In the administration of said Estate, your Applicant has performed those services required

by a Trustee. This Application is for services rendered from October 24, 2018 through January 14,

2021. The statutory allowance is the sum of $9,093.44, and Applicant has heretofore received on

his account compensation as Trustee in the sum of $0.00.

         Your Applicant has not in any form or guise agreed to share the compensation for such

services with any person not contributing thereto, or to share in the compensation of any person

rendering services in this proceeding to which services Applicant has not contributed. Your

Applicant has not entered into any agreement, written or oral, express or implied, with any other

party in interest or any attorney of any other party in interest in this proceeding for the purpose of
 Case 18-55697-lrc Doc 332-1 Filed 02/01/21 Entered 02/01/21 10:28:00                     Desc
                Application for Trustee Compensation Page 2 of 4



fixing the amount of the fees or other compensation to be paid to any party in interest, or any

attorney of any party in interest herein for services rendered in connection therewith.

       On April 3, 2018 (the “Petition Date”), Cassandra Johnson Landry (“Debtor”) filed a

voluntarily petition under Chapter 13 of Title 11 of the United States Code (11 U.S.C. § 101, et

seq., as amended, is hereinafter referred to as the “Bankruptcy Code”), initiating Case No. 18-

55697-lrc (the “Bankruptcy Case”). On September 14, 2018, the Bankruptcy Case was converted

to one under Chapter 7 of the Bankruptcy Code. Trustee was ultimately appointed, and he remains,

the duly acting Chapter 7 trustee in this Bankruptcy Case.

       At the commencement of the Bankruptcy Case, the bankruptcy estate was created under 11

U.S.C. § 541(a), and it includes all Debtors’ legal or equitable interests in property as of the

commencement of the Bankruptcy Case and any interest in property that the bankruptcy estate

acquires after commencement of the Bankruptcy Case. 11 U.S.C. § 541 (2014).

       Trustee and his professionals have undertaken extensive investigation, identification, and

recovery of interest in a certain whole life insurance policy and annuity contract, extensive

investigation of Debtor’s interest in certain real property and various claims asserted by Debtor,

have taken such steps as deemed appropriate for administration and protection of the estate, and

created an estate that totals approximately $115,000.

       Trustee and his professional created this estate despite the Debtor’s repeated efforts to

disqualify the Trustee and his attorney and an attempt to reconvert and/or dismiss the Bankruptcy

Case. Though this may appear to be a simple case based on the recoveries, the docket shows there

were 234 docket entries since Trustee’s appointment.
 Case 18-55697-lrc Doc 332-1 Filed 02/01/21 Entered 02/01/21 10:28:00                 Desc
                Application for Trustee Compensation Page 3 of 4



       As said Trustee, your Applicant has or will pay in the final administration of the

Bankruptcy Case out of his own funds expenses totaling $422.72, none of which have been repaid

and for which he prays for reimbursement. Attached hereto marked as Exhibit “A” and

incorporated herein by reference is an itemization of Trustee’s expenses.

       All required bankruptcy estate tax returns have been filed and the Trustee is proposing

paying unsecured creditors a distribution of 44% on his Trustee Final Report.

       WHEREFORE, S. Gregory Hays prays for such allowance for his services herein in the

amount of $9,093.44 plus reimbursement of expenses in the amount of $422.72 and as the Court

finds reasonable and just.

       Respectfully submitted 15th day of January, 2021.

                                                       /s/ S. Gregory Hays
                                                    S. Gregory Hays
Hays Financial Consulting, LLC                      Chapter 7 Trustee
2964 Peachtree Rd, N.W, Ste 555
Atlanta, Georgia 30305
(404) 926-0060
Case 18-55697-lrc Doc 332-1 Filed     02/01/21
                                    Exhibit "A" Entered 02/01/21 10:28:00     Desc
               Application for Trustee Compensation Page 4 of 4

                             Hays Financial Consulting, LLC
                                      2964 Peachtree Road
                                            Suite 555
                                     Atlanta, GA 30305-2153

Cassandra Johnson Landry
Case # 18-55697-LRC



                              For the Period from 10/24/2018 to 1/14/2021
January 14, 2021


                                                                              Amount

 1/10/2019 Parking expenses                                                      7.00
           Expense Report for mileage to courthouse.                             9.20
 1/31/2019 Postage                                                               0.47
12/31/2019 Postage                                                               2.30
 1/12/2021 2021 Bond fee                                                        46.31
           Postage                                                               7.40
 1/13/2021 Case Closing Expenses:                                              350.04
           Copies NFR - 245 notices @ 6 pages @ $0.15 per copy - $220.50
           Postage NFR - 245 notices @ $0.51 per notice - $124.95
           Postage distribution checks - 9 checks @ $0.51 per check - $4.59
             Total costs                                                      $422.72
